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 1                                                 THE HONORABLE RICHARD A. JONES
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13                           UNITED STATES DISTRICT COURT
14                          WESTERN DISTRICT OF WASHINGTON
15                                    AT SEATTLE
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18   UNITED STATES OF AMERICA,                    No. 2:13-cr-00055-RAJ-3
19
20                        Plaintiff,              ORDER
21
22           v.
23
24   SOKHA SET,
25
26                        Defendant.
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30           The Defendant Sokha Set has moved the Court for return of his passport, which
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32   was posted with the Clerk as a condition of his release on July 13, 2015. Mr. Set’s
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34   motion is unopposed by the government. The Defendant fully complied with conditions
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36   of his release and has been sentenced by this Court.
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38           IT IS HEREBY ORDERED that Defendant’s Motion (Dkt. #103) is GRANTED.
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40   The Clerk of the Court shall return/release the Defendant’s passport.
41
42           DATED this 22nd day of January, 2016.
43
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48
                                                     A
                                                     The Honorable Richard A. Jones
49                                                   United States District Judge
50
51
                                                                                  Perkins Coie LLP
     ORDER                                                                   1201 Third Avenue, Suite 4900
     (No. 2:13-cr-00055-RAJ-3) – 1                                             Seattle, WA 98101-3099
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